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                                                                           Saraliene Smith Durrett, LLC <ssd@defendingatl.com>



  Subpoena for records re USA v. Allen Pendergrass #1:17-cr-00224-AT-CMS
  Gillespie, Tristan <Tristan.Gillespie@fultoncountyga.gov>                                               Fri, Nov 15, 2019 at 8:58 AM
  To: "Saraliene Smith Durrett, LLC" <ssd@defendingatl.com>


    Hi Saraliene-



    We scoured our files and, unfortunately, we were unable to locate any records relating to Mr. Pendergrass. As you
    may know, we did not prosecute his case. However, we believe that APD may, in fact, have some relevant records.
    The best contact is likely Sergeant Paul Cooper from their Major Fraud Unit. His contact info is as follows>>:

    pcooper@atlantaga.gov
    404-546-6811



    I am sorry I couldn’t be more helpful.

    -Tristan



    Tristan W. Gillespie

    Assistant District Attorney

    Fulton County District Attorney's Office

    Atlanta Judicial Circuit

    136 Pryor Street, 4th Floor

    Atlanta, GA 30303

    404-613-4988 Direct Line

    tristan.gillespie@fultoncountyga.gov



    From: Saraliene Smith Durrett, LLC [mailto:ssd@defendingatl.com]
    Sent: Wednesday, November 13, 2019 7:38 AM
    To: Gillespie, Tristan
    Subject: Re: Subpoena for records re USA v. Allen Pendergrass #1:17-cr-00224-AT-CMS



    Hi Tristan.



    Is there an update on this file that I can give to the Court?



    Thanks.
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    Saraliene

    *Saraliene Smith Durrett, LLC*
    1800 Peachtree Street NE
    Suite 300
    Atlanta, GA 30309
    404-433-0855
    defendingatl.com


    *Confidentiality Notice*



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    all copies of the message.




    On Wed, Nov 6, 2019 at 3:01 PM Gillespie, Tristan <Tristan.Gillespie@fultoncountyga.gov> wrote:

       Dear Ms. Smith,



       I just received your subpoena yesterday for our records relating to the above-referenced matter. I have requested the
       subject files from archives and hope to have them to you as soon as possible.



       Best regards,



       Tristan W. Gillespie

       Assistant District Attorney

       Fulton County District Attorney's Office

       Atlanta Judicial Circuit

       136 Pryor Street, 4th Floor

       Atlanta, GA 30303

       404-613-4988 Direct Line

       tristan.gillespie@fultoncountyga.gov




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                                                                          Saraliene Smith Durrett, LLC <ssd@defendingatl.com>



  Subpoena for records re USA v. Allen Pendergrass #1:17-cr-00224-AT-CMS
  Gillespie, Tristan <Tristan.Gillespie@fultoncountyga.gov>                                             Fri, Nov 15, 2019 at 10:46 AM
  To: "angela_L_Smith@gand.uscourts.gov" <angela_L_Smith@gand.uscourts.gov>
  Cc: "Saraliene Smith Durrett, LLC" <ssd@defendingatl.com>


    Dear Ms. Smith,



    With regard to the above-referenced subpoena, I regret to inform you that this oﬃce is not in possession of any
    records responsive to same. This case is mistakenly listed as “open” in the court’s online case management system
    “Odyssey”. We ﬁled a Decline form with the court clerk yesterday to have that corrected to show that the case is now
    closed.
    [Quoted text hidden]




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                                                                       Saraliene Smith Durrett, LLC <ssd@defendingatl.com>



  Subpoena APD
  Robinson, Amber <ARobinson@atlantaga.gov>                                                           Wed, Dec 4, 2019 at 5:56 PM
  To: Saraliene Durrett <ssd@defendingatl.com>


    Good evening, Ms. Durrett



    On behalf of the City of Atlanta, please accept my apology for the delay in the City’s compliance with this subpoena.



    I have followed up with APD and have been advised that they are working to secure the return of hard copy file they
    provided to the US Attorney in this matter so that they may comply with the subpoena as instructed. They have advised
    that they provided the US Attorney with their only copy of this file. APD is working diligently to secure these documents
    and file them with the Court as instructed and this has been assigned top priority. I will update you as soon as I receive
    confirmation that this has been done.



    Thank you for your continued understanding and patience.



    Amber




    From: Saraliene Durrett <ssd@defendingatl.com>
    Sent: Wednesday, December 4, 2019 9:21 AM
    To: Robinson, Amber <ARobinson@AtlantaGa.Gov>
    Subject: Re: Subpoena APD



    Hi Amber.



    Were you able to get these documents to the court?



    Thanks.

    Saraliene



    Saraliene Smith Durrett, LLC

    1800 Peachtree Street

    Suite 300

    Atlanta, GA 30309



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                                                                        Saraliene Smith Durrett, LLC <ssd@defendingatl.com>



  Subpoena APD
  Robinson, Amber <ARobinson@atlantaga.gov>                                                             Fri, Dec 6, 2019 at 2:31 PM
  To: Saraliene Durrett <ssd@defendingatl.com>

    Good afternoon Ms Durrett

    I am in possession of the physical file in this matter, though it is my understanding that APD was unable to retrieve some
    of the emails requested due to the cyber attack.

    Would you like to send someone here to retrieve it to reduce time or would you prefer us to file it with the court as
    previously instructed?

    Again I apologize for the issues you have encountered in regards to this production.

    Thank you

    Amber

    Get Outlook for iOS

    From: Saraliene Durre <ssd@defendingatl.com>
    Sent: Thursday, December 5, 2019 7:54:24 AM
    [Quoted text hidden]


    [Quoted text hidden]




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